Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 1 of 19




                              EXHIBIT 1
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 2 of 19




                   SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

   1.     Parties. The parties to this Agreement are
                                                                                , Nomi Health, Inc.
        Nomi ), and SBP Staffing and Recruiting, LLC        SBP . Collectively, Brighthaupt, Jones,



   On December 16, 2022, Plaintiffs filed a lawsuit in the U.S. District Court for the Southern District
   of Florida, titled Tasma Brighthaupt et al. v. Nomi Health Inc. and SBP Staffing & Recruiting,
   LLC, Case No. 1:22-cv-24089-JEM (the                  , which alleged that Defendants had failed to
   pay them                                                                    .

   Plaintiffs and Defendants are interested in avoiding all further potential legal costs and disputes,
   and in fully and expeditiously resolving the claims, charges, or issues of law or fact that were or
   could have been raised by Plaintiffs against Defendants in the Lawsuit, as of the date Plaintiffs
   sign this Agreement.

   2. Consideration for Release of Claims. SBP agrees to pay Plaintiffs a total of twenty thousand
   dollars ($20,000.00) and Nomi agrees to pay Plaintiffs a total of forty thousand dollars
   ($40,000.00), allocated as follows:

                   To Tasma Brighthaupt:

                          $896.50 from SBP, as non-employee compensation, in exchange for
                          Brighthaupt

                          receipt of an IRS Form W-9 completed and executed by Brighthaupt is a
                          condition precedent to this payment. SBP will issue, if appropriate, an IRS
                          Form 1099 to Brighthuapt reflecting this payment.

                          $754.68 from SBP and $141.82 from Nomi, as non-employee
                          compensation, in exchange for Bighthaupt
                          liquidated wages in connection with any claims for allegedly unpaid wages,
                                                                                                  -9
                          completed and executed by Brighthaupt is a condition precedent to these
                          payments. Defendants will issue, if appropriate, IRS Forms 1099 to
                          Brighthaupt reflecting this payment.

                          $500.00 from Nomi, as non-employee compensation, in exchange for
                          Brighthaupt                                        Brighthaupt may have
                          against the Releasees (as defined below) arising out of any fact, condition,
                          or circumstance whatsoever, up to and including the effective date of this
                          Agreement, whether known or unknown, suspected or concealed, and
                          whether presently asserted or otherwise.         receipt of IRS Form W-9
                          completed and executed by Brighthaupt is a condition precedent to this




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Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 3 of 19




                     payment. Nomi will issue, if appropriate, an IRS Form 1099 to Brighthaupt
                     reflecting this payment.

                     $500.00 from Nomi, as non-employee compensation, in exchange for
                     Brighthaupt
                     not to sue, no-rehire, and other provisions contained in this Agreement for
                     which consideration has not been previously identified. Brighthaupt
                     receipt of an IRS Form W-9 completed and executed by Brighthaupt is a
                     condition precedent to this payment. Nomi will issue, if appropriate, an IRS
                     Form 1099 to Brighthaupt reflecting this payment.

               To Consuela Jones:

                     $467.50 from SBP, as non-employee compensation, in exchange for Jones
                     release of any claims for allegedly unpaid wages, including her claims under
                     the FLSA (not including liquidated damages).          receipt of an IRS Form
                     W-9 completed and executed by Jones is a condition precedent to this
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Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 4 of 19




               To Odin Martinez:

                     $8,006.26 from SBP, as non-employee compensation, in exchange for
                     Martinez

                     of an IRS Form W-9 completed and executed by Martinez is a condition
                     precedent to this payment. SBP will issue, if appropriate, an IRS Form 1099
                     to Martinez reflecting this payment.

                     $3,856.41 from SBP and $4,149.86 from Nomi, as non-employee
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                     Martinez                                   Martinez may have against the
                     Releasees (as defined below) arising out of any fact, condition, or
                     circumstance whatsoever, up to and including the effective date of this
                     Agreement, whether known or unknown, suspected or concealed, and
                     whether presently asserted or otherwise.        receipt of IRS Form W-9
                     completed and executed by Martinez is a condition precedent to this
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                     reflecting this payment.

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                     to sue, no-rehire, and other provisions contained in this Agreement for

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                     1099 to Martinez reflecting this payment.

               To Veronica Mejia:

                     $3,588.46 from SBP, as non-employee compensation, in exchange for
                     Mejia

                     of an IRS Form W-9 completed and executed by Mejia is a condition
                     precedent to this payment. SBP will issue, if appropriate, an IRS Form 1099
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                     $2,113.23 from SBP and $1,475.24 from Nomi, as non-employee
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                     wages in connection with any claims for allegedly unpaid wages, including


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Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 5 of 19




                                                                                 -9 completed and
                          executed by Mejia is a condition precedent to these payments. Defendants
                          will issue, if appropriate, IRS Forms 1099 to Mejia reflecting these
                          payments.

                          $500.00 from Nomi, as non-employee compensation, in exchange for
                          Mejia                                       Mejia may have against the
                          Releasees (as defined below) arising out of any fact, condition, or
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                          payment.

                          $500.00 from Nomi, as non-employee compensation, in exchange for
                          Mejia
                          sue, no-rehire, and other provisions contained in this Agreement for which

                          Form W-9 completed and executed by Mejia is a condition precedent to this
                          payment. Nomi will issue, if appropriate, an IRS Form 1099 to Mejia
                          reflecting this payment.

                                         :

                          $11,584.17 from Nomi for attorney fees and costs to Obeidy &
                          Associates, P.A.                receipt of an IRS Form W-9 completed and
                          executed by Obeidy & Associates, P.A. is a condition precedent to this
                          payment. Nomi will issue, if appropriate, an IRS Form 1099 to Obeidy &
                          Associates, P.A. reflecting this payment.

                          $18,498.37 from Nomi
                                        receipt of an IRS Form W-9 completed and executed by Scott
                          Law Team, LLC is a condition precedent to this payment. Nomi will issue,
                          if appropriate, an IRS Form 1099 to Scott Law Team, LLC reflecting this
                          payment.

   Defendants will report the payment(s) above to the IRS as required by law. Plaintiffs acknowledge
   that they have not relied on any statements or representations by Defendants or their attorneys with
   respect to the tax treatment of the payments described in this section. If any taxing body determines
   that the tax treatment was incorrect and that greater amounts should have been withheld from any
   payment above (or any part thereof), Plaintiffs acknowledge and assume all responsibility for
   paying those amounts and further agree to indemnify and hold Defendants harmless for payment
   of any additional taxes and any interest and penalties thereon.

   All P                                                                                    .



                                                    4
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 6 of 19




   Plaintiffs agree that the payments above are consideration for the promises by Plaintiffs contained
   herein and that Defendants were not otherwise obligated to make these payments. The Parties
   further acknowledge that it is Defendants position that Plaintiffs were not, at any time relevant to
   the claims asserted in the Lawsuit, employees of any of the Defendants.

   Further, the Parties acknowledge and agree that the payments by SBP and Nomi detailed above
   are independent of one another. That is, Nomi shall not be responsible for any amount to be paid
   by SBP, and SBP shall not be responsible for any amount to be paid to Nomi. To the extent any

   party. Similarly,
   separately, and are not dependant on t
   failure of one of the Defendants to make its payments under the Agreement shall not impact the

   under the Agreement.

                  obligations to make the payments above shall become due within 21 days after all of
   the following occur: (i) Defendants receive this Agreement executed by all Plaintiffs; (ii) the Court
   approves this Agreement, upon joint motion, and dismisses the Lawsuit with prejudice, in full; and
   (iii) Plaintiffs and their attorney(s) provide any completed tax forms identified above. Plaintiffs
   acknowledge that, unless and until all of the foregoing conditions precedent are satisfied as to all
   Plaintiffs, this Agreement shall not be valid or binding.

   3. Dismissal of the Lawsuit. The Parties agree that Plaintiffs causing the Lawsuit and claims to
   be dismissed with prejudice is a condition precedent to Defendant promises in this Agreement.
   Plaintiffs agree to take any actions necessary to effectuate the dismissal with prejudice. Plaintiffs
   understand and acknowledge that if any portion of the claims asserted by any current individual
   plaintiff in the Lawsuit is not dismissed with prejudice or proceeds in any respect, this Agreement
   shall have no force or effect and Plaintiffs shall be entitled to no payments hereunder.

   4. Release of Claims. Plaintiffs release Defendants, their parents, subsidiaries, affiliates,
   predecessors, successors, partnerships, investors, joint ventures, vendors, subcontractors, related
   entities, and all of Defendants and the
   employees, and anyone else acting by, through, for, under, or in concert with any of them
                                    from any and all claims, charges, complaints, actions, causes of
   action, suits, grievances, controversies, disputes, demands, agreements, contracts, covenants,
   promises, liabilities, judgments, obligations, debts, damages (including, but not limited to, actual,

   of any kind, nature, description, or character whatsoever that party may have against any or all of
   the Releasees arising out of his work or employment with any Releasee and/or any other fact,
   condition, circumstance, or occurrence whatsoever, up to and including the effective date of this
   Agreement, whether known or unknown, suspected, or concealed, and whether presently asserted
   or otherwise, including, but not limited to, all claims that any Releasee failed to pay any wages or
   other compensation or benefits including back pay, front pay, bonuses, commissions, equity,
   expenses, incentives, insurance, paid/unpaid leave/time off, profit sharing, salary, or separation
   pay/benefits.




                                                    5
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 7 of 19




   The Parties acknowledge that they may later discover facts different from or in addition to those
   now known to them or believed by them to be true with respect to any or all of the matters covered
   by this Agreement, and the Parties agree that this Agreement nevertheless shall remain in full and
   complete force and effect.

   5. Release Exclusions. The Release of Claims excludes the right to enforce this Agreement as
   well as any claims that cannot be waived by law. This includes any claim for unemployment or

   existing rights of defense and indemnity or liability insurance coverage. Nothing in this Agreement
   limits             rights to file a claim, give information, or participate in an investigation or
   proceeding with a government agency such as the U.S. Securities and Exchange Commission
   (SEC), the Equal Employment Opportunity Commission (EEOC), or the Occupational Safety and
   Health Administration (OSHA) under any law protecting such rights. Plaintiffs give up, however,
   the right to any money or other personal benefit from any Releasee (not a government agency) for
   any such claim or litigation, whether brought by Plaintiffs or on their behalf, unless prohibited by
   law.

   6. Court Approval. The Parties will seek Court approval of the Agreement. Plaintiffs agree to
   cooperate in obtaining such approval. If the Court does not approve the settlement or does not
   dismiss the Lawsuit, in full, with prejudice, the Parties agree to engage in follow-up discussions
                                                                                 and/or full dismissal, to
                                                          , mutual intent at the time they agreed upon a
   settlement. If feasible, the Parties will then resubmit the settlement for approval within thirty (30)
   days, or if approval is again denied, they will take whatever measures are necessary to achieve
                                                                            original, mutual intent at the
   time they agreed upon a settlement.

   7. Promise Not To Sue.                                   Plaintiffs promise not to sue any Releasee
   in court. This is different from the Release above. Besides releasing claims covered by the above
   Release, Plaintiffs agree never to sue any Releasee for any reason covered by the Release, subject
   to the Release Exclusions. Despite this Promise Not To Sue, however, Plaintiffs may file suit to
   enforce this Agreement. If Plaintiffs sue a Releasee in violation of this Agreement, he shall be
                                                     ney fees and other litigation costs incurred in
   defending against her suit.

   8. Confidentiality of Agreement. This Agreement is strictly confidential. Other than as
   necessary to obtain Court approval of this Agreement, Plaintiffs will not communicate this
                       , or any other settlement agreement entered into in connection with the Lawsuit,
   to any third party, whether verbally or in writing, by any means, including by social media. Any
   disclosure by Plaintiffs will cause Defendants and the Releasees irreparable harm that money
   cannot undo. Accordingly, violation of this section will entitle Defendants to temporary and
   permanent injunctive relief. Except as required by law, Plaintiffs have not disclosed and will not
   disclose any term of this Agreement or any other settlement agreement entered into in connection
   with the Lawsuit, including any payment under this Agreement or any other settlement agreement
   entered into in connection with the Lawsuit, to anyone except their immediate family members
   and their legal/financial advisors. Each of them is bound by this Confidentiality of Agreement
   provision, and a disclosure by any of them is a disclosure by Plaintiffs. Except as relates to


                                                     6
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 8 of 19




   obtaining Court approval of the Agreement, the only comment that Plaintiffs or their legal counsel
   may make in response to an inquiry by a third party regarding the Lawsuit or this Agreement will
                                            Plaintiffs further represent that, as of the date Plaintiffs
   executed this Agreement, they and their legal counsel have not disclosed the terms or fact of this
   settlement or any other settlement agreement entered into in connection with the Lawsuit to any
   individual, apart from through formal filings with the Court.

   9. Non-Disparagement. Plaintiffs promise not to do or say anything, verbally or in writing,
   directly or indirectly, that disparages, reflects negatively on, or otherwise detrimentally affects
   Defendants or any Releasee. This non-disparagement provision explicitly prohibits posting
   disparaging comments, remarks, videos, or reviews on social media platforms, including but not
   limited to Glassdoor, Indeed, Facebook, Yelp, search engine reviews, or other social media, career,
   or messaging platforms.

   10. Confidentiality and Non-Disparagement Exclusions. Nothing in this Agreement, including
   its confidentiality and non-disparagement provisions and the release and waiver of claims, is
   intended to limit your alleged rights to engage in protected, concerted activity under Section 7 of
   the National Labor Relati
   investigation by or testify in any proceeding before the National Labor Relations Board. This
   means, for example, that nothing in this Agreement prohibits you from speaking with co-workers
   or third parties about pay, hours, or terms and conditions of alleged employment (which
   Defendants deny) or from engaging in other protected, concerted activities under the NLRA. You
   waive any right to monetary or other relief, including reinstatement, which may be ordered by the
   NLRB as a result of or in connection with such charge, investigation or proceeding. Nothing in
   this Paragraph shall be construed as an admission that the NLRA, in fact, applies to you.

   11. Non-Admission. Neither Defendants offer reflected in this Agreement nor any payment
   under this Agreement is an admission that Plaintiffs have any viable claim against any Releasee.
   Each Releasee denies all liability. The Parties agree that, except as otherwise provided herein, they
                                                                       Plaintiffs nor Defendants shall be
   viewed as a prevailing party by virtue of executing this Agreement.

   12. Payment of Applicable Taxes. Plaintiffs are and shall be solely responsible for all federal,
   state, and local taxes that they may owe by virtue of the receipt of any portion of the monetary
   payment provided under this Agreement. Plaintiffs agree to indemnify and hold Defendants
   harmless from any and all liability, including, without limitation, all penalties, interest and other
   costs that may be imposed on him by the Internal Revenue Service or other governmental agencies
   regarding any tax obligations that may arise from the monetary consideration made to Plaintiffs
   under this Agreement.

   13. Applicable Law. This Agreement shall be interpreted under federal law if that law governs,
   and otherwise under the laws of Florida, without regard to its choice of law provisions.

   14. Enforceability. If a court (or arbitrator) finds any part of this Agreement unenforceable, that
   part shall be modified and the rest enforced. If a court (or arbitrator) finds any such part incapable
   of being modified, it shall be severed and the rest enforced. A decision not to enforce this
   Agreement does not waive any future violation.


                                                     7
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 9 of 19




   15. Enforcement. If any of the Plaintiffs breaches this Agreement, Defendants and each Releasee
                                                                                         any of the
   Defendants and/or each Releasee incur in enforcing this Agreement, unless otherwise expressly
   provided elsewhere in this Agreement, plus any additional relief determined to be appropriate.

   16. Counterparts. This Agreement may be executed in any number of counterparts and by
   different parties hereto in separate counterparts, with the same effect as if all parties had signed
   the same document. All such counterparts shall be deemed an original, shall be construed together,
   shall constitute one and the same instrument, and shall be considered confidential in accordance
   with the terms of this Agreement.

   17. Non-Assignment. Plaintiffs agree that they have not and will not assign this Agreement, any
   part of this Agreement, or any rights arising under this Agreement, to any person or entity.
   Plaintiffs further represent and warrant that, as of the effective date of this Agreement, the claims
   released under this Agreement have not been sold, assigned, or transferred, in whole or in part, to
   any other person or entity.

   18. No Future Employment. Plaintiffs agree they will not seek or accept future employment or
   work with any Releasee. If Plaintiffs nonetheless seek or obtain such employment or work after
   this Agreement takes effect, this Agreement shall constitute sufficient cause for refusing to hire or
   contract with them or for terminating their subsequent employment or work.

   19. Entire Agreement. This Agreement constitutes the entire, complete, and integrated statement
   of each and every term and provision agreed to by and between Plaintiffs and Defendants related
   to             releases of claims. This Agreement supersedes any prior representations, promises,
   or warranties (oral or otherwise) made by Plaintiffs or Defendants as to such claims, and neither
   Plaintiffs nor Defendants shall be liable or bound to any prior representation, promise, or warranty
   (oral or otherwise) as to the matters covered by this Agreement, unless expressly set forth herein.
   This Agreement shall not be modified or canceled in any respect, except as provided herein by a
   writing executed by Plaintiffs and Defendants.

   20. Other Representations. Plaintiffs agree:

              They have received all pay, compensation, benefits, leave, and/or time off they are due
              to date, including for overtime or vacation/PTO;

              They have not suffered any on-the-job injury for which they have not already filed a
              claim, and the end of his work is not related to any such injury;

              The payments and other consideration provided in this Agreement are not related to
              sexual harassment or sexual abuse;

              They have had the opportunity to negotiate this Agreement with Defendants, and this
              Agreement shall not be construed for or against any party as a drafter of its terms;

              They were advised in writing, by getting a copy of this Agreement, to consult with an
              attorney before signing below; and



                                                    8
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 10 of 19




            They are signing this Agreement knowingly and voluntarily.


     READ THIS RELEASE CAREFULLY AND CONSIDER ALL OF ITS PROVISIONS
     BEFORE SIGNING IT: IT INCLUDES A RELEASE OF KNOWN AND UNKNOWN
     CLAIMS. IF YOU WISH, YOU SHOULD CONSULT AN ATTORNEY OR OTHER
     ADVISOR AT YOUR OWN EXPENSE.




    By:                                            By:
          TASMA BRIGHTHAUPT              (Date)             NOMI HEALTH, INC.     (Date)

                                                   Name:

                                                   Title:
    By:
          CONSUELA JONES                 (Date)


                                                   By:
                                                   SBP STAFFING & RECRUTING, LLC (Date)
    By:
          ODIN MARTINEZ                  (Date)
                                                   Name:

                                                   Title:

    By:
          VERONICA MEJIA                 (Date)




                                               9
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 11 of 19




                    SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

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Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 12 of 19




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Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 13 of 19




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Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 14 of 19




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                           executed by Mejia is a condition precedent to these payments. Defendants
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                           $500.00 from Nomi, as non-employee compensation, in exchange for
                           Mejia                                       Mejia may have against the
                           Releasees (as defined below) arising out of any fact, condition, or
                           circumstance whatsoever, up to and including the effective date of this
                           Agreement, whether known or unknown, suspected or concealed, and
                           whether presently asserted or otherwise.        receipt of IRS Form W-9
                           completed and executed by Mejia is a condition precedent to this payment.
                           Nomi will issue, if appropriate, an IRS Form 1099 to Mejia reflecting this
                           payment.

                           $500.00 from Nomi, as non-employee compensation, in exchange for
                           Mejia
                           sue, no-rehire, and other provisions contained in this Agreement for which

                           Form W-9 completed and executed by Mejia is a condition precedent to this
                           payment. Nomi will issue, if appropriate, an IRS Form 1099 to Mejia
                           reflecting this payment.

                                          :

                           $11,584.17 from Nomi for attorney fees and costs to Obeidy &
                           Associates, P.A.                receipt of an IRS Form W-9 completed and
                           executed by Obeidy & Associates, P.A. is a condition precedent to this
                           payment. Nomi will issue, if appropriate, an IRS Form 1099 to Obeidy &
                           Associates, P.A. reflecting this payment.

                           $18,498.37 from Nomi
                                         receipt of an IRS Form W-9 completed and executed by Scott
                           Law Team, LLC is a condition precedent to this payment. Nomi will issue,
                           if appropriate, an IRS Form 1099 to Scott Law Team, LLC reflecting this
                           payment.

    Defendants will report the payment(s) above to the IRS as required by law. Plaintiffs acknowledge
    that they have not relied on any statements or representations by Defendants or their attorneys with
    respect to the tax treatment of the payments described in this section. If any taxing body determines
    that the tax treatment was incorrect and that greater amounts should have been withheld from any
    payment above (or any part thereof), Plaintiffs acknowledge and assume all responsibility for
    paying those amounts and further agree to indemnify and hold Defendants harmless for payment
    of any additional taxes and any interest and penalties thereon.

    All P                                                                                    .



                                                     4
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 15 of 19




    Plaintiffs agree that the payments above are consideration for the promises by Plaintiffs contained
    herein and that Defendants were not otherwise obligated to make these payments. The Parties
    further acknowledge that it is Defendants position that Plaintiffs were not, at any time relevant to
    the claims asserted in the Lawsuit, employees of any of the Defendants.

    Further, the Parties acknowledge and agree that the payments by SBP and Nomi detailed above
    are independent of one another. That is, Nomi shall not be responsible for any amount to be paid
    by SBP, and SBP shall not be responsible for any amount to be paid to Nomi. To the extent any

    party. Similarly,
    separately, and are not dependant on t
    failure of one of the Defendants to make its payments under the Agreement shall not impact the

    under the Agreement.

                   obligations to make the payments above shall become due within 21 days after all of
    the following occur: (i) Defendants receive this Agreement executed by all Plaintiffs; (ii) the Court
    approves this Agreement, upon joint motion, and dismisses the Lawsuit with prejudice, in full; and
    (iii) Plaintiffs and their attorney(s) provide any completed tax forms identified above. Plaintiffs
    acknowledge that, unless and until all of the foregoing conditions precedent are satisfied as to all
    Plaintiffs, this Agreement shall not be valid or binding.

    3. Dismissal of the Lawsuit. The Parties agree that Plaintiffs causing the Lawsuit and claims to
    be dismissed with prejudice is a condition precedent to Defendant promises in this Agreement.
    Plaintiffs agree to take any actions necessary to effectuate the dismissal with prejudice. Plaintiffs
    understand and acknowledge that if any portion of the claims asserted by any current individual
    plaintiff in the Lawsuit is not dismissed with prejudice or proceeds in any respect, this Agreement
    shall have no force or effect and Plaintiffs shall be entitled to no payments hereunder.

    4. Release of Claims. Plaintiffs release Defendants, their parents, subsidiaries, affiliates,
    predecessors, successors, partnerships, investors, joint ventures, vendors, subcontractors, related
    entities, and all of Defendants and the
    employees, and anyone else acting by, through, for, under, or in concert with any of them
                                     from any and all claims, charges, complaints, actions, causes of
    action, suits, grievances, controversies, disputes, demands, agreements, contracts, covenants,
    promises, liabilities, judgments, obligations, debts, damages (including, but not limited to, actual,

    of any kind, nature, description, or character whatsoever that party may have against any or all of
    the Releasees arising out of his work or employment with any Releasee and/or any other fact,
    condition, circumstance, or occurrence whatsoever, up to and including the effective date of this
    Agreement, whether known or unknown, suspected, or concealed, and whether presently asserted
    or otherwise, including, but not limited to, all claims that any Releasee failed to pay any wages or
    other compensation or benefits including back pay, front pay, bonuses, commissions, equity,
    expenses, incentives, insurance, paid/unpaid leave/time off, profit sharing, salary, or separation
    pay/benefits.




                                                     5
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 16 of 19




    The Parties acknowledge that they may later discover facts different from or in addition to those
    now known to them or believed by them to be true with respect to any or all of the matters covered
    by this Agreement, and the Parties agree that this Agreement nevertheless shall remain in full and
    complete force and effect.

    5. Release Exclusions. The Release of Claims excludes the right to enforce this Agreement as
    well as any claims that cannot be waived by law. This includes any claim for unemployment or

    existing rights of defense and indemnity or liability insurance coverage. Nothing in this Agreement
    limits             rights to file a claim, give information, or participate in an investigation or
    proceeding with a government agency such as the U.S. Securities and Exchange Commission
    (SEC), the Equal Employment Opportunity Commission (EEOC), or the Occupational Safety and
    Health Administration (OSHA) under any law protecting such rights. Plaintiffs give up, however,
    the right to any money or other personal benefit from any Releasee (not a government agency) for
    any such claim or litigation, whether brought by Plaintiffs or on their behalf, unless prohibited by
    law.

    6. Court Approval. The Parties will seek Court approval of the Agreement. Plaintiffs agree to
    cooperate in obtaining such approval. If the Court does not approve the settlement or does not
    dismiss the Lawsuit, in full, with prejudice, the Parties agree to engage in follow-up discussions
                                                                                  and/or full dismissal, to
                                                           , mutual intent at the time they agreed upon a
    settlement. If feasible, the Parties will then resubmit the settlement for approval within thirty (30)
    days, or if approval is again denied, they will take whatever measures are necessary to achieve
                                                                             original, mutual intent at the
    time they agreed upon a settlement.

    7. Promise Not To Sue.                                   Plaintiffs promise not to sue any Releasee
    in court. This is different from the Release above. Besides releasing claims covered by the above
    Release, Plaintiffs agree never to sue any Releasee for any reason covered by the Release, subject
    to the Release Exclusions. Despite this Promise Not To Sue, however, Plaintiffs may file suit to
    enforce this Agreement. If Plaintiffs sue a Releasee in violation of this Agreement, he shall be
                                                      ney fees and other litigation costs incurred in
    defending against her suit.

    8. Confidentiality of Agreement. This Agreement is strictly confidential. Other than as
    necessary to obtain Court approval of this Agreement, Plaintiffs will not communicate this
                        , or any other settlement agreement entered into in connection with the Lawsuit,
    to any third party, whether verbally or in writing, by any means, including by social media. Any
    disclosure by Plaintiffs will cause Defendants and the Releasees irreparable harm that money
    cannot undo. Accordingly, violation of this section will entitle Defendants to temporary and
    permanent injunctive relief. Except as required by law, Plaintiffs have not disclosed and will not
    disclose any term of this Agreement or any other settlement agreement entered into in connection
    with the Lawsuit, including any payment under this Agreement or any other settlement agreement
    entered into in connection with the Lawsuit, to anyone except their immediate family members
    and their legal/financial advisors. Each of them is bound by this Confidentiality of Agreement
    provision, and a disclosure by any of them is a disclosure by Plaintiffs. Except as relates to


                                                      6
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 17 of 19




    obtaining Court approval of the Agreement, the only comment that Plaintiffs or their legal counsel
    may make in response to an inquiry by a third party regarding the Lawsuit or this Agreement will
                                             Plaintiffs further represent that, as of the date Plaintiffs
    executed this Agreement, they and their legal counsel have not disclosed the terms or fact of this
    settlement or any other settlement agreement entered into in connection with the Lawsuit to any
    individual, apart from through formal filings with the Court.

    9. Non-Disparagement. Plaintiffs promise not to do or say anything, verbally or in writing,
    directly or indirectly, that disparages, reflects negatively on, or otherwise detrimentally affects
    Defendants or any Releasee. This non-disparagement provision explicitly prohibits posting
    disparaging comments, remarks, videos, or reviews on social media platforms, including but not
    limited to Glassdoor, Indeed, Facebook, Yelp, search engine reviews, or other social media, career,
    or messaging platforms.

    10. Confidentiality and Non-Disparagement Exclusions. Nothing in this Agreement, including
    its confidentiality and non-disparagement provisions and the release and waiver of claims, is
    intended to limit your alleged rights to engage in protected, concerted activity under Section 7 of
    the National Labor Relati
    investigation by or testify in any proceeding before the National Labor Relations Board. This
    means, for example, that nothing in this Agreement prohibits you from speaking with co-workers
    or third parties about pay, hours, or terms and conditions of alleged employment (which
    Defendants deny) or from engaging in other protected, concerted activities under the NLRA. You
    waive any right to monetary or other relief, including reinstatement, which may be ordered by the
    NLRB as a result of or in connection with such charge, investigation or proceeding. Nothing in
    this Paragraph shall be construed as an admission that the NLRA, in fact, applies to you.

    11. Non-Admission. Neither Defendants offer reflected in this Agreement nor any payment
    under this Agreement is an admission that Plaintiffs have any viable claim against any Releasee.
    Each Releasee denies all liability. The Parties agree that, except as otherwise provided herein, they
                                                                        Plaintiffs nor Defendants shall be
    viewed as a prevailing party by virtue of executing this Agreement.

    12. Payment of Applicable Taxes. Plaintiffs are and shall be solely responsible for all federal,
    state, and local taxes that they may owe by virtue of the receipt of any portion of the monetary
    payment provided under this Agreement. Plaintiffs agree to indemnify and hold Defendants
    harmless from any and all liability, including, without limitation, all penalties, interest and other
    costs that may be imposed on him by the Internal Revenue Service or other governmental agencies
    regarding any tax obligations that may arise from the monetary consideration made to Plaintiffs
    under this Agreement.

    13. Applicable Law. This Agreement shall be interpreted under federal law if that law governs,
    and otherwise under the laws of Florida, without regard to its choice of law provisions.

    14. Enforceability. If a court (or arbitrator) finds any part of this Agreement unenforceable, that
    part shall be modified and the rest enforced. If a court (or arbitrator) finds any such part incapable
    of being modified, it shall be severed and the rest enforced. A decision not to enforce this
    Agreement does not waive any future violation.


                                                      7
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 18 of 19




    15. Enforcement. If any of the Plaintiffs breaches this Agreement, Defendants and each Releasee
                                                                                          any of the
    Defendants and/or each Releasee incur in enforcing this Agreement, unless otherwise expressly
    provided elsewhere in this Agreement, plus any additional relief determined to be appropriate.

    16. Counterparts. This Agreement may be executed in any number of counterparts and by
    different parties hereto in separate counterparts, with the same effect as if all parties had signed
    the same document. All such counterparts shall be deemed an original, shall be construed together,
    shall constitute one and the same instrument, and shall be considered confidential in accordance
    with the terms of this Agreement.

    17. Non-Assignment. Plaintiffs agree that they have not and will not assign this Agreement, any
    part of this Agreement, or any rights arising under this Agreement, to any person or entity.
    Plaintiffs further represent and warrant that, as of the effective date of this Agreement, the claims
    released under this Agreement have not been sold, assigned, or transferred, in whole or in part, to
    any other person or entity.

    18. No Future Employment. Plaintiffs agree they will not seek or accept future employment or
    work with any Releasee. If Plaintiffs nonetheless seek or obtain such employment or work after
    this Agreement takes effect, this Agreement shall constitute sufficient cause for refusing to hire or
    contract with them or for terminating their subsequent employment or work.

    19. Entire Agreement. This Agreement constitutes the entire, complete, and integrated statement
    of each and every term and provision agreed to by and between Plaintiffs and Defendants related
    to             releases of claims. This Agreement supersedes any prior representations, promises,
    or warranties (oral or otherwise) made by Plaintiffs or Defendants as to such claims, and neither
    Plaintiffs nor Defendants shall be liable or bound to any prior representation, promise, or warranty
    (oral or otherwise) as to the matters covered by this Agreement, unless expressly set forth herein.
    This Agreement shall not be modified or canceled in any respect, except as provided herein by a
    writing executed by Plaintiffs and Defendants.

    20. Other Representations. Plaintiffs agree:

               They have received all pay, compensation, benefits, leave, and/or time off they are due
               to date, including for overtime or vacation/PTO;

               They have not suffered any on-the-job injury for which they have not already filed a
               claim, and the end of his work is not related to any such injury;

               The payments and other consideration provided in this Agreement are not related to
               sexual harassment or sexual abuse;

               They have had the opportunity to negotiate this Agreement with Defendants, and this
               Agreement shall not be construed for or against any party as a drafter of its terms;

               They were advised in writing, by getting a copy of this Agreement, to consult with an
               attorney before signing below; and



                                                     8
Case 1:22-cv-24089-JEM Document 66-1 Entered on FLSD Docket 01/12/2024 Page 19 of 19




            They are signing this Agreement knowingly and voluntarily.


     READ THIS RELEASE CAREFULLY AND CONSIDER ALL OF ITS PROVISIONS
     BEFORE SIGNING IT: IT INCLUDES A RELEASE OF KNOWN AND UNKNOWN
     CLAIMS. IF YOU WISH, YOU SHOULD CONSULT AN ATTORNEY OR OTHER
     ADVISOR AT YOUR OWN EXPENSE.




    By:                                            By:
          TASMA BRIGHTHAUPT              (Date)             NOMI HEALTH, INC.     (Date)

                                                   Name:

                                                   Title:
    By:
          CONSUELA JONES                 (Date)


                                                   By:
                                                   SBP STAFFING & RECRUTING, LLC (Date)
    By:
          ODIN MARTINEZ                  (Date)
                                                   Name:

                                                   Title:

    By:
          VERONICA MEJIA                 (Date)




                                               9
